Case 4:14-c-V-02345 Document 152 Filed in TXSD on 01/16/18 Page 1 of 2

IN THE UNITED STATES COURT OF APPEALS

 

FOR THE FIFTH CIRCUIT
JAN 1 6 2018 NO. 17-20589
mvidJ.Brad!cy,ClarkoiCGl! l-i'_|(j , c!!__ 23 q§

SECURITIES AND EXCHANGE COMMISSION,

 

Plaintiff - Appellee

A True Copy
Certified order issued Jan 16, 2018
V. dW(‘w
Clerk, S Court of peals, Fifth Circui
ANDREW I. FARMER,

Defendant - Appellant

 

Appeal from the United States District Court
for the Southern District of Texas

 

CLERK'S OFFICE:

Under FED R. APP. P. 42(b), the appeal is dismissed as of January 16,

2018, pursuant to appellant‘s motion.

LYLE W. CAYCE
Clerk of the United States Court
Of Appeals for the Fifth Circuit

%Zoé&w;/E{MM
By:
Christina A. Gardner, Deputy Clerk

 

ENTERED AT THE DIRECTION OF THE COURT

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United States Court of Appeals
FIFTH C[RCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE

TEL. 504-310-7700
CLERK

600 S. MAESTR! PLACE
NEW ORLEANS, LA 70130

January 16, 2018

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

NO. 17~20589 SEC v. Andrew Farmer
USDC NO. 4:14-CV-2345

Dear Mr. Bradley,

Enclosed is a copy Of the judgment issued as the mandate.

Sincerely,

LYLE W. CAYCE, Clerk

%lobi./gmdmr

By:
Christina A. Gardher, Deputy Clerk
504-310-7684

 

cc w/encl:
Mr. Jeffrey J. Ansley
Mr. J. Kevin Edmundson
Mr. Dominick V. Freda
Mr. Nikolay V. Vydashenko

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